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                            UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OKLAHOMA

United States of America,
                                              Plaintiff,        Case Number: 18-cr-167-GKF

vs.                                                             Proceeding: Motion Hearing
                                                                Date: 10-2-2018
Adam Gallardo Arredondo,                                        Court Time: 2:30 p.m.
                                             Defendant.

                                                 MINUTE SHEET

 Gregory K. Frizzell, Chief District Judge             K. Perkins, Deputy Clerk       Brian Neil, Reporter

Counsel for Plaintiff: Melody Nelson, Richard Cella
Counsel for Defendant: Michael Gibson, Matthew Swain, Ret.


Minutes: Case called for hearing with Defendant present out of custody. Trial schedule of defense
counsel was discussed. Defendant advised of his rights under Speedy Trial Act and a Waiver of
Speedy Trial was executed (filed separately). Court made findings the ends of justice served by a
continuance as stated into the record. Joint Motion to Declare Case Complex [Doc. 21] and Joint
Motion to Continue Jury Trial [Doc. 20] were Granted. Government will prepare and submit an
Order. The following schedule was set:
                       Motions due:                                               5/22/2019
                       Responses due:                                             6/5/2019
                       PT/CP/Motions Hearing:                                     7/2/2019 at 10:30 a.m.
                       Voir dire, jury instructions, and trial briefs due:        7/8/2019
                       Jury Trial:                                                7/15/2019 at 9:30 a.m.




                                                Court Time: 20 min




Minute Sheet General                                                                                     CR-01 (1/17)
